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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 18-7160


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        RODERICK BLACK, a/k/a Roger,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Elizabeth City. Terrence W. Boyle, Chief District Judge. (2:94-cr-00015-BO-9; 2:17-cv-
        00055-BO)


        Submitted: February 20, 2019                                  Decided: February 27, 2019


        Before AGEE, DIAZ, and THACKER, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Roderick Black, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

                 Roderick Black appeals the district court’s order construing his Fed. R. Civ. P.

        60(b) motion as an unauthorized successive 28 U.S.C. § 2255 (2012) motion and

        dismissing it for lack of jurisdiction. We have reviewed the record and find no reversible

        error.

                 In the same order, the district court denied relief on two motions Black labeled

        “Motion to Modify Sentence Pursuant to 18 U.S.C. § 3582(c)(2)” and “Motion for

        Reconsideration of the Court’s Denial of Defendant’s 18 U.S.C. § 3582(c)(2).” On

        appeal, we confine our review to the issues raised in the Appellant’s brief. See 4th Cir.

        R. 34(b). Because Black’s informal brief does not challenge the bases for the district

        court’s disposition of these other motions, Black has forfeited appellate review of that

        portion of the district court’s order. See Jackson v. Lightsey, 775 F.3d 170, 177 (4th Cir.

        2014) (“The informal brief is an important document; under Fourth Circuit rules, our

        review is limited to issues preserved in that brief.”).

                 Accordingly, we deny as unnecessary a certificate of appealability (“COA”) and

        affirm. See United States v. McRae, 793 F.3d 392, 400 (4th Cir. 2015) (“[W]e need not

        issue a COA before determining whether the district court erred in dismissing [a]

        purported Rule 60(b) motion as an unauthorized successive habeas petition.”).          We

        dispense with oral argument because the facts and legal contentions are adequately

        presented in the materials before this court and argument would not aid the decisional

        process.

                                                                                      AFFIRMED

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